 

Case 2:04-cr-20452-.]PI\/| Document 24 Filed 04/21/05 Pagelon Page|D 29
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IN THE UNITED STATES DISTRICT COURT ' l Fl.nh. ;J
FOR THE wESTERN DISTRICT OF TENNESSEE op ‘
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UNITED STATES OF AMERICA,
Plaintiff,
v. Cr. No. 04-20452

DARRELL LESTER ,

Defendant.

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ORDER OF REFERENCE

 

Before the Court is the Motion to Withdraw as Counsel,

April 18, 2005.

filed

This matter is referred to the United States Magistrate

Judge for determination and for appointment of new counsel, if

appropriate.
shall be made Within ten (lO)
order,

excepted to and the reasons for the exceptions.

IT IS SO ORDERED THIS §2' DAY OF April, 2005.

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Any exceptions to the magistrate judge's order
days of the magistrate judge's

setting forth particularly those portions of the order

 

JO PHI PPS MCCALLA

ITED STATES DISTRICT JUDGE

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with eula 55 and/or 32(1:>) FRCrP on ff "§Q;/ ' 0

 

   

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Notice of Distribution

This notice confirms a copy of the document docketed as number 24 in
case 2:04-CR-20452 Was distributed by faX, mail, or direct printing on
April 21 , 2005 to the parties listed.

 

 

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Honorable J on McCalla
US DISTRICT COURT

